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 In the United States Court of Federal Claims
  * * * * * * * * * * * * * * *                *
  SECURIFORCE INTERNATIONAL                    *
  AMERICA, LLC,                                *
                                               *
                        Plaintiff,             *
                v.                             *           No. 12-759C
                                               *           Filed: April 13, 2018
  UNITED STATES,                               *
                                               *
                       Defendant.              *
                                               *
  * * * * * * * * * * * * * * *                *

                                        ORDER

       On July 12, 2016, the court issued a decision in the above captioned case, and on
July 13, 2016, the Clerk of the Court entered judgment. Subsequently, the parties
appealed the court’s decision to the United States Court of Appeals for the Federal Circuit.
On January 17, 2018, the Federal Circuit issued a decision and concluded: “We affirm
the Claims Court’s determinations except its determination that it had jurisdiction to
adjudicate an affirmative, declaratory claim with respect to the termination for
convenience; on that one issue, we vacate the judgment of the Claims Court and remand
with directions to dismiss.” Thereafter, plaintiff filed a petition for rehearing en banc. On
April 4, 2018, the Federal Circuit denied plaintiff’s motion, and, on April 11, 2018, the
Federal Circuit issued its mandate. Consistent with the Federal Circuit’s decision, this
court DISMISSES plaintiff’s affirmative, declaratory judgment claim regarding the
termination for convenience. With respect to the trial court’s finding that “[t]he government
acted within its authority in issuing the termination for cause,” which the appellate court
affirmed, the Clerk of the Court shall enter JUDGMENT in the above-captioned case
consistent with this Order and the original Order for judgment of the trial court.

       IT IS SO ORDERED.
                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
